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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


DONNA MARIE HOLLAND et al., )
                            )
            Plaintiffs,     )
                            )
v.                          ) Civil Action 01-1924 (CKK)
                            )
THE ISLAMIC REPUBLIC        )
      OF IRAN, et al.,      )
                            )
            Defendants.     )


          PLAINTIFFS’ MOTION TO REVIVE AND EXTEND JUDGMENT OF
                             FEBRUARY 1, 2006


       Plaintiffs Donna Marie Holland, James Holland and Chad Holland hereby move to revive

and extend the Judgment entered by this Court on Feb. 1, 2006, against Defendants the Islamic

Republic of Iran, the Iranian Ministry of Information and Security (“MOIS”) and the Iranian

Islamic Revolutionary Guard Corps (“IRGC”). A copy of that Judgment Order is attached hereto

as Exhibit A.

       DC Code Section 15-101(a) provides that a judgment for the payment of money, such as

the one entered herein, is valid and can be enforced for twelve (12) years from the date of entry.

See, e.g., Nat’l Bank of Washington v. Carr, 829 A.2d 942, 943 (D.C. App. 2003).

       However, the twelve-year lifespan of the judgment can be renewed when the judgment

creditors move to revive the judgment before the 12-year period runs out. “When a motion for

renewal of a money judgment is made within the twelve-year period prescribed in DC Code

Section 15-101(a), an order extending judgment that is entered after expiration of the statutory


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period is valid and enforceable.” United States v. Cortez W. Peters Business College, 865 F.2d

1330, 1330 (DC Cir. 1988); Michael v. Smith, 221 F.2d 59 (D.C. Cir. 1955).

       Courts generally grant timely motions to revive and extend. See., e.g., Blackman v.

District of Columbia, No. 97-1629 (PLF) (D.D.C. March 6, 2017)(copy attached as exhibit B).

This motion is timely, as it is filed well before Feb. 1, 2018.

       In this case, plaintiffs have moved for an Order authorizing them to pursue attachment in

aid of execution and execution of judgment. Docket #48. This Court granted that Order.

Docket #51. Plaintiffs have pursued a number of potential ways to satisfy their judgment, and

are continuing to do so, both domestically and abroad. Although no Defendant has paid any of

it, plaintiffs have recovered some compensation on their judgment from the United States

Victims of State Sponsored Terrorism Fund (“USVSST”). This fund was created by legislation

codified at 34 U.S.C. Section 20144 from the payment to the United States Treasury of certain

fines, penalties, sanctions, and forfeited assets primarily stemming from settlements reached by

financial institutions with the Justice Department for violations of Iranian sanctions laws and

regulations. In order to become eligible for distributions from this fund, plaintiffs had to agree to

subrogate their claims to the United States to the extent and in the amount of their payments

from the fund. 34 U.S.C. Section 20144(d)(5). Distributions are made periodically in amounts

that reflect a pro rata allocation of available funds among all judgment creditors of state sponsors

of terrorism who submit applications to the Fund. 34 U.S.C. Section 20144 d)(3)(A).

       In the first distribution authorized by the USVSST Fund in 2016, plaintiffs herein

recovered approximately 13 percent of the compensatory damages awarded by the Court in this

case in 2006. Plaintiffs remain eligible for additional distributions from this fund when they

become available, and also continue to pursue enforcement of the rest of their judgment by other
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means. As of the date of this Motion To Revive, approximately 87 percent of their judgment

(prior to calculation of post-judgment interest accrued since 2006) remains uncollected from any

source.

                                           CONCLUSION

          For the reasons stated, the Court should enter an Order reviving and extending the

judgment for money damages entered in favor of plaintiffs and against defendants in this case on

February 1, 2006, for an additional 12 years.


                                                      Respectfully submitted,


                                                      /s/__Paul G Gaston________
                                                      Paul G. Gaston, DC Bar #290833
                                                      LAW OFFICES PAUL G. GASTON
                                                      1901 Pennsylvania Avenue, NW, Suite 607
                                                      Washington DC 20006
                                                      202-296-5856
                                                      paul@gastonlawoffice.com

                                                      Attorney for Plaintiffs




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